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UN'TED STATES OF AMER|CA, - W.o. oi= 'rn, neiviei»iis

Vs. NO. 02 - 20356 - B
WILL|AM HOLLAND,

Defendant.

 

ORDER CRANTINC DEFENDANT’S i\/|OT|ON FOR
ADD|T|ONAL TlME TO RESPOND TO ORDER RECONSIDERINC
AEG|S SC|ENCE CORPORAT|ON’S MOTION TO QUASH SUBPOENA

 

Before the Court is the Apri| 18, 2005 motion of defendant Wi||iam
Ho||and requesting additional time to respond to order reconsidering Aegis
Science Corporation’s motion to quash subpoena. For good cause shown, the
motion is granted. Counse| for the defendant is granted dan extension of time,
untiljune 20, 2005, to file his memorandum in support of reconsideration of his
subpoena request. Counse| for the defendant may request an additional

extension of time if necessary.

|T |S SO ORDERED.

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This notice confirms a copy of the document docketed as number 332 in
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Honorable J. Breen
US DISTRICT COURT

